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                                                                            Madison County Circuit Court 6
                                                                                  Madison County, Indiana




         IN THE CIRCUIT COURT NO. 6 FOR MADISON COUNTY
                         STATE OF INDIANA
                           CAUSE NO. 48C06-2202-CT-000022

GREGG RATCLIFF AND                          )
PORSCHE HOLDER,                             )
                                            )
        PLAINTIFFS,                         )
                                            )
V.                                          )
                                            )
TRANSTEWART TRUCKING, INC.                  )
BURRELL LEE,                                )
CHEROKEE INSURANCE COMPANY, AND             )
GREAT AMERICAN INSURANCE COMPANY,           )
                                            )
        DEFENDANTS.                         )

                           FIRST AMENDED COMPLAINT

     Plaintiffs Gregg Ratcliff and Porsche Holder, by counsel, hereby assert claims for

relief against Defendants TranStewart Trucking, Inc., Burrell Lee, Cherokee

Insurance Company, and Great American Insurance Company. In support hereof,

the Plaintiffs state and allege:

     1. At all times relevant herein, Gregg Ratcliff and Porsche Holder were married,

living together, and domiciled in the state of Indiana.

     2. At all times relevant herein, Burrell Lee was domiciled in the Commonwealth

of Kentucky.

     3. At all times relevant herein, TranStewart Trucking, Inc. was doing business

in the state of Indiana.

     4. At all times relevant herein, Cherokee Insurance Company was doing

business in the state of Indiana.

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   5. At all times relevant herein, Great American Insurance Company was doing

business in the state of Indiana.


                                        Count I

   Gregg Ratcliff and Porsche Holder, by counsel, hereby assert claims for relief

against Burrell Lee.

   6. On January 28, 2022, at approximately 1:39 a.m., based upon knowledge and

belief, Porsche Holder was occupying a Dodge that had experienced a mechanical

problem which had stopped in the right, northbound shoulder of Interstate 69 in

Madison County, Indiana.

   7. At said date and time, Gregg Ratcliff had stopped a Chevrolet in the right,

northbound shoulder of Interstate 69 to aid Porsche Holder.

   8. At said date and time, Gregg Ratcliff was in between the Chevrolet and the

Dodge attempting to repair the Dodge.

   9. At said date and time, Burrell Lee was driving a semi-tractor in the right,

northbound travel lane on Interstate 69 behind the Dodge and Chevrolet.

   10. At said date and time, Burrell Lee was negligent in driving the semi-tractor,

including failing to use reasonable care, failing to maintain proper control, failing to

keep a proper lookout, driving at an unreasonable speed under the circumstances,

and driving onto the shoulder of the roadway.

   11. On January 28, 2022, at approximately 1:39 a.m., the negligent conduct of

Burrell Lee in driving the semi-tractor was a responsible cause of a collision with

the Dodge being occupied by Porsche Holder, which forced the Dodge to collide into

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 Gregg Ratcliff and the Chevrolet.

    12. The negligent conduct of Burrell Lee was the unexcused violation of one or

 more laws designed to protect the class of persons, including Gregg Ratcliff and

 Porsche Holder, against the type of harm which occurred because of the violation.

    13. The negligent conduct of Burrell Lee was a responsible cause of Gregg

 Ratcliff experiencing harms, including injuries, pain, suffering, and damages.

    14. The negligent conduct of Burrell Lee was a responsible cause of Porsche

 Holder experiencing harms, including injuries, pain, suffering, and damages.

    WHEREFORE, Plaintiffs Gregg Ratcliff and Porsche Holder pray that the Court

 enters a judgment against Defendants TranStewart Trucking, Inc. and Burrell Lee

 for compensatory damages in an amount sufficient to remedy the harms to

 Plaintiffs Gregg Ratcliff and Porsche Holder, for costs, for a trial by jury on all

 issues in this cause, and all other just and proper relief in the premises.


                                         Count II

    Gregg Ratcliff and Porsche Holder, by counsel, hereby assert claims for relief

 against TranStewart Trucking, Inc. and Burrell Lee.

    15. Gregg Ratcliff and Porsche Holder incorporate by reference herein

 paragraphs numbered 6 through 14 of the First Amended Complaint.

    16. At all times relevant herein, based upon information, Burrell Lee was an

 employee of TranStewart Trucking, Inc. and working within the scope of said

 employment.

    17. At all times relevant herein, TranStewart Trucking, Inc. was a motor carrier

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 subject to the provisions of the Federal Motor Carrier Safety Regulations.

    18. At all times relevant herein, the semi-tractor being driven by Burrell Lee

 was a commercial motor vehicle subject to the provisions of the Federal Motor

 Carrier Safety Regulation.

    19. At all times relevant herein, the semi-tractor being driven by Burrell Lee

 was property that was being transported in interstate commerce.

    WHEREFORE, Plaintiffs Gregg Ratcliff and Porsche Holder pray that the Court

 enters a judgment against Defendant TranStewart Trucking, Inc. for compensatory

 damages in an amount sufficient to remedy the harms to Plaintiffs Gregg Ratcliff

 and Porsche Holder, for costs, for a trial by jury on all issues in this cause, and all

 other just and proper relief in the premises.


                                         Count III

    Gregg Ratcliff and Porsche Holder, by counsel, hereby assert claims for relief

 against Great American Insurance Company.

    20. Gregg Ratcliff and Porsche Holder incorporate by reference herein paragraphs

 numbered 6 through 14 of the First Amended Complaint.

    21. At all times relevant herein, Great American Insurance Company issued a

 non-trucking liability policy to Burrell Lee.

    22. On January 28, 2022, the non-trucking liability policy was in effect.

    23. An actual controversy exists as to Great American Insurance Company’s

 obligations under the non-trucking liability policy to indemnify Burrell Lee for the

 claims of Gregg Ratcliff and Porsche Holder arising from the collision on January 28,

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2022.

   24. This declaratory judgment action is necessary and useful in determining the

rights and responsibilities of the parties under the non-trucking liability policy

pursuant to Trial Rule 57 and the Indiana Declaratory Judgment Act, Indiana Code

§ 34-14-1 et seq.

   WHEREFORE, Plaintiffs Gregg Ratcliff and Porsche Holder prays that the

Court enters a judgment declaring that Defendant Great American Insurance

Company is obligated to defend and indemnify Burrell Lee under the non-trucking

liability policy from the claims of Plaintiffs Gregg Ratcliff and Porsche Holder

arising from the collision on January 28, 2022, for costs, for a trial by jury on all

issues in this cause, and all other just and proper relief in the premises.


                                       Count IV

   Gregg Ratcliff and Porsche Holder, by counsel, hereby assert claims for relief

against Cherokee Insurance Company.

   25. Gregg Ratcliff and Porsche Holder incorporate by reference herein paragraphs

numbered 6 through 14 and 16 through 19 of the First Amended Complaint.

   26. At all times relevant herein, Cherokee Insurance Company issued a trucking

liability policy with an MCS-90 endorsement to TranStewart Trucking, Inc.

   27. On January 28, 2022, the trucking liability policy and MCS-90 endorsement

was in effect.

   28. An actual controversy exists as to Cherokee Insurance Company’s obligations

under the trucking liability policy and MCS-90 endorsement to defend and

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indemnify Burrell Lee and TranStewart Trucking, Inc. for the claims of Gregg Ratcliff

and Porsche Holder arising from the collision on January 28, 2022.

   29. This declaratory judgment action is necessary and useful in determining the

rights and responsibilities of the parties under the trucking liability policy and

MCS-90 endorsement pursuant to Trial Rule 57 and the Indiana Declaratory

Judgment Act, Indiana Code § 34-14-1 et seq.

   WHEREFORE, Plaintiffs Gregg Ratcliff and Porsche Holder pray that the Court

enters a judgment declaring that Defendant Cherokee Insurance Companyis

obligated to defend and indemnify Burrell Lee and TranStewart Trucking, Inc.

under the trucking liability policy and MCS-90 endorsement from the claims of

Plaintiffs Gregg Ratcliff and Porsche Holder arising from the collision on January

28, 2022, for costs, for a trial by jury on all issues in this cause, and all other just

and proper relief in the premises.

                                                 Respectfully submitted,

                                                 CRAIG KELLEY & FAULTLESS LLC


                                                 /s/ David W. Craig
                                                 David W. Craig, #4356-98


                                                 /s/ Scott A. Faultless
                                                 Scott A. Faultless, #15736-49
Attorneys for Plaintiffs:

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Indianapolis, IN 46216
(317) 545-1760
(317) 545-1794 (facsimile)

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                             CERTIFICATE OF SERVICE

        I hereby certify that the foregoing has been served upon the following via
  Indiana’s e-filing system, and electronic mail, on the 14th day of March, 2022, and
  upon TranStewart Trucking, Inc., Cherokee Insurance Company, and Great
  American Insurance Company via a summons:

  Christopher Lee
  Jonathon Yogi Snider
  DINSMORE & SHOHL, LLP
  One Indiana Square, Suite 1800
  Indianapolis, IN 46204-4208

                                         /s/ Scott A. Faultless
                                         Scott A. Faultless




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